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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  January 11, 2021
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 MICHAEL L. FERGUSON,                                          :
 MYRL C. JEFFCOAT and                                          :
 DEBORAH SMITH, on behalf of the                               :
 DST SYSTEMS, INC. 401(K) PROFIT                               :
 SHARING PLAN,                                                 :
                                                               :
                                     Plaintiffs,               :
                                                               :
                        -against-                              :     1:17-cv-06685-ALC
                                                               :
 RUANE CUNNIFF & GOLDFARB INC.;                                :     ORDER
 DST SYSTEMS, INC.; THE ADVISORY
 COMMITTEE OF THE DST SYSTEMS,
 INC. 401(K) PROFIT SHARING PLAN
 AND THE COMPENSATION
 COMMITTEE OF THE BOARD OF
 DIRECTORS OF DST SYSTEMS, INC.;

                                     Defendants.
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ANDREW L. CARTER, JR., United States District Judge:

        In light of Plaintiffs’ proposed settlement with the RCG and DST Defendants, the

Intervenor Arbitration Claimants shall file any opposition to the Preliminary Approval Orders by

January 18, 2021.



SO ORDERED.

Dated: January 11, 2021                                        ___________________________________

          New York, New York                                        ANDREW L. CARTER, JR.
                                                                    United States District Judge
